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                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF LOUISIANA


JEROME RANDOLPH
                                                                    CIVIL ACTION
VERSUS
                                                                    20-318-SDD-SDJ
DEPARTMENT OF THE NAVEY,
BOARD FOR CORRECTION OF
NAVAL RECORDS

                                        RULING

        The Court has carefully considered the Motion,^ the record, the law applicable to

this action, and the Report and Recommendations2 of United States Magistrate Judge

Scott D. Johnson dated September 7, 2021 to which a Response3 was filed and also

reviewed.


        The Court hereby approves the Report and Recommendation of the Magistrate

Judge and adopts it as the Court's opinion herein.

        ACCORDINGLY, the Motion to Dismiss is hereby GRANTED and the Plaintiffs

defamation and Sixth Amendment claims are hereby DISMISSED WITHOUT

PREJUDICE.

        Signed in Baton Rouge, Louisiana the ^/ day of September, 2021.




                                                                      c-^'
                                     CHIEF JUDG^ ^-IELLY D. DICK
                                     UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF LOUISIANA



1 Rec. Doc.18.
2 Rec. Doc. 25.
3 Rec. Doc.26.
